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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF OKLAHOMA

  (1)    MARILYN ANN PHILLIPS,        )
                                      )
                    Plaintiff,        )
                                      )
  -vs-                                )    No. 17-CV-547-JHP-JFJ
                                      )
  (1) FARMERS INSURANCE               )
  COMPANY, INC.,                      )
                                      )
                    Defendant.        )

                  DEFENDANT'S WITNESS LIST (PRELIMINARY)

         COMES NOW the Defendant, Farmers Insurance Company, Inc., and

  submits its list of Witnesses pursuant to the Court's Scheduling

  Order.

         1.   Marilyn Phillips, c/o Tony Laizure, Laizure Law, PLLC,
              2120 East 15th Street, Tulsa, OK 74104; 918-749-0749.
              Ms. Phillips will testify as to the issues in this case.

         2.   Kenny Phillips, c/o Laizure Law, PLLC, 2120 East 15th
              Street, Tulsa, OK 74104; 918-749-0749. Mr. Phillips will
              testify in regard to the issues in this case.

         3.   James A. Rodgers, M.D., 6560 South Yale, #709, Tulsa, OK
              74136; 918-481-4965. Dr. Rodgers will testify in regard
              to his treatment of the plaintiff and opinions regarding
              causation.

         4.   David Mokhtee, M.D., c/o Tulsa Bone & Joint Associates,
              4802 South 109th East Avenue, Tulsa, OK 74146; 918-392-
              1400.    Dr. Mokhtee will testify in regard to his
              treatment of the plaintiff.

         5.   James P. Hutton, M.D., 1923 South Utica Avenue, Tulsa, OK
              74104; 918-744-3424.     Dr. Hutton, a retained expert
              witness, will provide opinions of whether the plaintiff's
              shingles condition and complications involving her eye
              were caused by the automobile accident, and whether the
              related medical treatment and related bills were caused
              by the accident.

         6.   Stephen G. Fincher, M.D., c/o Warren Clinic, 6465 South
              Yale, Suite 704, Tulsa, OK 74136; 918-502-4250.     Dr.
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              Fincher will testify in regard to the plaintiff's medical
              history and treatment at the Warren Clinic and physical
              therapy received at St. Francis Hospital Physical
              Therapy.

        7.    J. Matthew Roberts, D.O., c/o The Eye Institute, 1717
              South Utica, Suite 103, Tulsa, OK 74104; 918-743-2319.
              Dr. Roberts is expected to testify in regard to the
              plaintiff's treatment at The Eye Institute.

        8.    John A. Saurino, D.O., c/o Surgery Works, 220 West 71st
              Street, Tulsa, OK 74132; 918-747-7799. Dr. Saurino is
              expected to testify in regard to his treatment of the
              plaintiff.

        9.    Dr. Anthony Economou, c/o Pinnacle Specialty Hospital,
              2408 East 81st Street, Suite 600, Tulsa, OK 74137; 918-
              392-2740. Dr. Economou is expected to testify in regard
              to his treatment of the plaintiff.

        10.   Physician at Access Medical Center (formerly Urgent
              Care), 2929 South Garnet Road, Tulsa, OK 74129; 918-665-
              1520. The physician from Urgent Care will testify in
              regard to the plaintiff's medical history and treatment
              at Urgent Care.

        11.   Witnesses identified in further discovery.

        12.   Witnesses listed by the Plaintiff, not objected to by the
              Defendant.

                                Respectfully submitted,

                                TAYLOR, RYAN, MINTON. &, VAN DALSEM, P.C.


                                BY s/Robert Taylor
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                           CERTIFICATE OF SERVICE

       I hereby certify that on the 25th day of April, 2018, I
  electronically transmitted the foregoing document to the Clerk of
  the Court using the ECF System for filing and transmittal of a
  Notice of Electronic Filing to the following ECF registrants:

  Anthony M. Laizure
  tlaizure@laizurelaw.com



                                      s/Robert Taylor
                                      ROBERT TAYLOR




  blc
